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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                           DALLAS DIVISION

ODELL EDWARDS, Individually and            §
as Representative of the Estate of         §
Jordan Edwards, Deceased,                  §
            Plaintiff,                     §
                                           §        No. 3:17-cv-01208-M-BT
v.                                         §
                                           §
ROY OLIVER and THE CITY OF                 §
BALCH SPRINGS, TEXAS,                      §
         Defendants.                       §

     ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

      The Court has under consideration the Findings, Conclusions, and

Recommendation of United States Magistrate Judge Rebecca Rutherford dated

November 24, 2021. The Court has made a de novo review of those portions of the

proposed Findings, Conclusions, and Recommendation to which objections were

made. The objections are overruled.

      SO ORDERED, this 14th day of February, 2022.




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